
PER CURIAM
On further consideration of the Board on Professional Responsibility's Report and Recommendation wherein it recommended that respondent be suspended for ninety days, with thirty days stayed in lieu of a one-year period of probation with conditions, the exceptions filed by Disciplinary Counsel, this court's February 23, 2016, order staying this matter pending resolution of respondent's reciprocal bar matter arising out of discipline imposed by the state of Maryland, and it appearing that respondent has been indefinitely suspended in this jurisdiction as reciprocal discipline with reinstatement contingent on a showing of fitness, see In re Green , 114 A.3d 660 (D.C. 2015), Disciplinary Counsel's letter withdrawing its exceptions in this matter, this court's May 25, 2016, order lifting the stay, this court's July 29, 2016, order remanding the record to the Board of Professional Responsibility for its recommendation on whether discipline imposed in this case should run consecutively or concurrently to that imposed in the reciprocal case, and the Report and Recommendation of the Board on Professional Responsibility wherein it recommends that the discipline in this case run concurrently with that imposed in In re Green , 114 A.3d 660 (D.C. 2015), and it further appearing that respondent has yet to file his D.C. Bar R. XI, § 14 (g) affidavit, it is
ORDERED that John M. Green is hereby suspended from the practice of law in the District of Columbia for a period of ninety days, the last thirty days stayed in favor of a one-year period of probation with conditions. This sanction shall run concurrently with the indefinite suspension with a fitness requirement imposed in In re Green , 114 A.3d 660 (D.C. 2015). It is
FURTHER ORDERED that for purposes of reinstatement in either the original or reciprocal disciplinary matters, respondent's period of suspension will not begin to run until such time as he files an affidavit that fully complies with the requirements of D.C. Bar R. XI, § 14 (g).
